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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

VICTORIA GREEN, as Administrator of           )
the Estate of Craigory Green,                 )
                                              )
               Plaintiff,                     )
                                              )
               v.                             )      No. 20 C 0463
                                              )
STEVE MEEKS, et al.,                          )
                                              )
       Defendants.                            )      Hon. Stephen P. McGlynn

                        JOINT MOTION TO EXTEND DISCOVERY

       Plaintiff, Victoria Green, as Administrator of the Estate of Craigory Green, through her

attorneys, Defendants Steve Meeks, Erin Mears-Attig, and Gail Walls, by their attorneys, and

Defendants Wexford Health Sources, Inc., Mohammed Siddiqui, Michael Moldenhauer, Vipin

Shah, and Mary Zimmer, by their attorneys, hereby jointly request that the Court extend the

schedule to complete fact discovery in this case by 60 days, up to and including August 5, 2022,

and to extend subsequent deadlines by a similar amount. In support of their motion, the parties

state as follows:

       1.      Fact discovery in this case is currently set to close on June 3, 2022. See Dkt. 178.

       2.      The parties have been working diligently to complete fact discovery. Over the

past several months the parties have completed deposing individual defendants and nearly

completed deposing the necessary third parties in this case, have engaged in enforcement

conversations with defendants on written discovery and document productions, and have briefed

several discovery disputes that the parties have been unable to resolve without Court

intervention. Plaintiff has filed two motions to compel (Dkts. 173; 184) on such disputes and

defendants have filed responses (Dkts. 177; 185; 186).
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       3.      Despite the diligent efforts detailed above, a relatively brief extension of time is

necessary to complete fact discovery in this case. The completion of certain items of fact

discovery is dependent upon the outcome of the Rule 37 motions currently before the Court.

This includes the completion of Plaintiff’s Rule 30(b)(6) deposition of Wexford, as well as the

completion of Plaintiff’s responses to certain contention interrogatories served on Plaintiff by

Wexford.

       4.      Accordingly, to give the parties the necessary time to complete fact discovery, the

parties request that the discovery deadlines be extended as follows:

               −       Fact discovery deadline: August 5, 2022

               −       Plaintiff’s Rule 26(a)(2) disclosures: September 9, 2022

               −       Defendants’ Rule 26(a)(2) disclosures: October 21, 2022

               −       Plaintiff’s rebuttal Rule 26(a)(2) disclosures: November 11, 2022

               −       Expert discovery deadline: December 7, 2022

               −       Dispositive motions deadline: January 6, 2022

       5.      No party will face prejudice from the granting of this motion. To the contrary, the

parties have brought this motion jointly in recognition of the diligence pursued thus far but the

need for additional time to complete discovery.

       WHEREFORE, the parties respectfully request that fact discovery deadline in this case

be extended by 60 days, up to and including August 5, 2022, and subsequent deadlines be

extended by a similar amount.

                                                      Respectfully submitted,

                                                      /s/ Alison Bitterly_____
                                                      Alison Bitterly
                                                      Attorney for Plaintiff



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Arthur Loevy
Jon Loevy
Sarah Grady
Steve Weil
Alison Bitterly
LOEVY & LOEVY
311 N. Aberdeen Street, Third Floor
Chicago, Illinois 60607


                                          /s/ Areda Johnson (with consent)
                                          Areda Johnson
                                          Attorney for the IDOC Defendants

Areda Johnson
Rachel Schwarzlose
OFFICE OF THE ILLINOIS ATTORNEY GENERAL
500 South Second St.
Springfield, Illinois 62701


                                          /s/ Ryan Wallis (with consent)
                                          Ryan Wallis
                                          Attorney for the Wexford Defendants

Timothy Dugan
Ryan Wallis
CASSIDAY SCHADE LLP
100 North Broadway
St. Louis, Missouri 63102




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                                 CERTIFICATE OF SERVICE

        I, Alison Bitterly, an attorney, certify that on June 3, 2022, I caused the foregoing to be
filed using the Court’s CM/ECF system, which effected service on all counsel of record.




                                                      /s/ Alison Bitterly
                                                      Alison Bitterly
                                                      Attorney for Plaintiff




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